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                                                       December 4, 2020

BY EMAIL TO CHAMBERS
EX PARTE & REQUEST TO FILE UNDER SEAL

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE:    United States v. Michael Avenatti
       19 Cr. 374 (JMF)

Dear Judge Furman:

       Enclosed please find a sworn affirmation from Michael Avenatti confirming that
there have been no material changes to his financial condition bearing on his eligibility
for court-appointed counsel. Mr. Avenatti does wish to note that he recently sued Fox
News and certain of its on-air talent for defamation, and that the case remains in its
early stages. See Michael Avenatti v. Fox News Network LLC et al., 20-cv-01541 (D.
Del.). Because Mr. Avenatti’s underlying CJA 23 Form and accompanying affidavit
remain under seal, and for the reasons set forth in our motion to keep Mr. Avenatti’s
sworn statements about his finances sealed, we respectfully submit this letter and
enclosure ex parte and request leave to file them under seal.

                                                       Respectfully Submitted,

                                                                    /s/
                                                       Robert M. Baum
                                                       Tamara Giwa
                                                       Andrew J. Dalack
                                                       Assistant Federal Defenders

                                                       Counsel for Michael Avenatti
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